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 1                        IN THE UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
 2                                  EASTERN DIVISION

 3      THOMAS SIERRA,                             )   Docket No. 18 C 3029
                                                   )
 4                                Plaintiff,       )
                                                   )
 5                   v.                            )   Chicago, Illinois
                                                   )   November 7, 2018
 6      REYNALDO GUEVARA, et al.,                  )   9:00 o'clock a.m.
                                                   )
 7                                Defendants.      )

 8                         TRANSCRIPT OF PROCEEDINGS - MOTION
                            BEFORE THE HONORABLE JOHN Z. LEE
 9
        APPEARANCES:
10
        For the Plaintiff:                     LOEVY & LOEVY, by
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        For Defendant Guevara:                 LEINENWEBER BARONI & DAFFADA, by
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                                               Chicago, Illinois 60602
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        For Defendants Halvorsen,              THE SOTOS LAW FIRM, by
17      Mingey, Wojcik, McMurray,              MR. JOSH MICHAEL ENGQUIST
        Figueroa and Biebel:                   550 Devon Avenue
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        For Defendant City of                  ROCK FUSCO & CONNELLY, by
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 1             (Proceedings had in open court:)

 2                 THE CLERK:      18 CV 3029, Sierra versus Guevara.

 3                 MR. STARR:      Good morning, your Honor.           Sean Starr on

 4      behalf of Mr. Sierra.

 5                 MS. ROSEN:      Good morning, your Honor.           Eileen Rosen on

 6      behalf of defendant City of Chicago.

 7                 MR. ENGQUIST:       Good morning, your Honor.          Josh

 8      Engquist on behalf of defendants Halvorsen, Mingey, Wojcik,

 9      McMurray, Figueroa and Biebel.

10                 MR. LEINENWEBER:        Good morning, Judge.         Tom

11      Leinenweber on behalf of defendant Guevara.

12                 THE COURT:      Good morning.

13                 So I understand that there are a number of other cases

14      involving Officer Guevara, is that correct?

15                 MR. STARR:      That is correct, your Honor.

16                 THE COURT:      How many are there?

17                 MR. ENGQUIST:       There is nine total, including this

18      one.

19                 THE COURT:      And is there a Monell discovery proceeding

20      in those cases?

21                 MS. ROSEN:      There is not any Monell discovery

22      proceeding in earnest.         The cases are staggered in terms of the

23      filing dates.      And so motions to bifurcate are either filed and

24      under review or being filed.

25                 With respect to the one that is most progressed, the
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 1      parties have focused on the underlying case.                It's the city's

 2      intention to actually file a motion to bifurcate in that one as

 3      well.

 4                 So there has been no Monell discovery in earnest in

 5      any of the cases so far.

 6                 MR. STARR:      If I may add to that, your Honor?             In June

 7      of this year we litigated to conclusion a Guevara case, Rivera

 8      case.    And there was Monell discovery in that case as well.                      So

 9      a lot of discovery has already been conducted.

10                 We -- our position is that these -- the Monell issues

11      are intertwined with the individual liability issues for a

12      number of reasons that are presented in our response to the

13      motion to bifurcate.

14                 THE COURT:      No, I understand.        I reviewed all the

15      briefs with regard to the motion to bifurcate Monell claims.

16                 MS. ROSEN:      If I can just respond briefly to the

17      Rivera case.      It's the city's position actually that, yes,

18      there was Monell discovery and there was a Monell claim that

19      was tried.     I think we mentioned that in our -- in our briefs.

20                 The time periods are significantly different.                 So

21      Rivera was a 1988 arrest and prosecution that concluded in

22      1990.    During that timeframe, Mr. Guevara was a gang crime

23      specialist, not a detective.           All of the other cases are --

24      have -- are later in the '90s and a detective.                 And, you know,

25      the policies and practices of the City of Chicago did not
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 1      remain static.

 2                 So from the city's perspective, if we do go forward on

 3      Monell, it's not done from the defense side of it.

 4                 THE COURT:      Okay.

 5                 MR. STARR:      If I can respond to that?

 6                 THE COURT:      No need.

 7                 So this is my ruling with regard to the defendant City

 8      of Chicago's motion to bifurcate Monell claims:                 As this

 9      District Court recognized in Awalt v. Marketti, 2012 Westlaw

10      1161500, Northern District of Illinois, April 9, 2012, the

11      Seventh Circuit's decision in Thompson v. Cook County Sheriff's

12      Department, 604 F.3d 293, Seventh Circuit 2009, in this

13      district at least the clear weight of authority holds that

14      bifurcation is now heavily disfavored.              And indeed, bifurcation

15      of claims is the general exemption and not the rule.

16                 Here having reviewed the arguments made by the

17      parties, I do not believe that bifurcation of plaintiff's

18      Monell claims is warranted.           First given the issue -- given the

19      issues that the plaintiff raised in this case in the complaint,

20      I do not believe that bifurcation of discovery or trial would

21      materially facilitate the speedy and efficient resolution in

22      this case.     In fact, in my experience, bifurcating Monell

23      discovery only tends to prolong the case and leads to

24      unnecessary disputes as to the appropriate scope of non-Monell

25      versus Monell discovery.
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 1                 This is particularly true in a case like this, where

 2      the city has been engaged in Monell discovery in similar cases.

 3      And while the Monell discovery may not completely overlap or

 4      even substantially overlap, the city certainly has a good start

 5      on how it would go about searching for discovery that would be

 6      the subject of plaintiff's Monell claims.

 7                 As for prejudice to the city, it argues that the

 8      fact -- it argues that introduction of Monell discovery, Monell

 9      evidence, during the trial would be unduly prejudicial to the

10      individual defendants.         This may be so, but this is an issue

11      that we can deal with as part of the pretrial conference as the

12      case heads to trial, when I will have a better sense of exactly

13      what the parties will want to introduce at trial and how the

14      offered evidence will be used.

15                 On the other hand, the delays that bifurcation of

16      Monell discovery would cause this case I believe would

17      prejudice plaintiff's interests in achieving a speedy

18      resolution to this matter.          For those reasons, defendant city's

19      motion to bifurcate the Monell claim is denied but denied

20      without prejudice.        So that's my ruling with regard to the

21      city's motion to bifurcate.

22                 So at the moment, I know that we put a schedule in

23      place, but recognize that the schedule may have to be adapted

24      based upon the scope of discovery.             Currently fact discovery is

25      set to conclude on June 28, 2019.
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 1                 Given my ruling with regard to Monell discovery, do

 2      you -- do the parties have a sense of how much time they need

 3      for all of the discoveries in this case?

 4                 MS. ROSEN:      Judge, from the defendant's perspective,

 5      if we are going to be fully litigating Monell discovery, the

 6      city's estimate is that it will take at least six months and

 7      probably a year to do the Monell discovery, based on, in fact,

 8      the Rivera case where Monell discovery took three and a half

 9      years.    And it was focused -- by the time we got to the Monell

10      discovery in Rivera, we had pretty much concluded all of the

11      discovery on the underlying case.             So that was three years,

12      give or take.

13                 So, you know, that's our best estimate, looking at it

14      right now.

15                 MR. STARR:      And, your Honor, our position is that, you

16      know, while the time period might be slightly different, the

17      policies may have changed.          The practices in large part didn't.

18      We think that the schedule that we're currently on is a

19      schedule that we can achieve, understanding that from the

20      city's perspective, you know, they have some heavy lifting

21      potentially to do.

22                 But, you know, our position would be to stay on track

23      and then address this down the line if we need to.                  We've

24      made -- we exchanged initial written discovery.                 And the

25      responses are due in the next week or so.               Maybe on Monday, if
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 1      I remember correctly.         We did the mandatory disclosures as

 2      well.

 3                 So we feel like we're humming along just fine.

 4                 THE COURT:      All right.      I am going to extend the

 5      deadline for fact discovery to September 30, 2019.                  I am also

 6      going to refer this case to Magistrate Judge Weisman for

 7      discovery supervision, so that he can make sure that the

 8      parties remain on track for that date.

 9                 For purposes of my calendar, we will set this case for

10      further status.       Carmen, let's look at the week of May 20,

11      please.

12                 THE CLERK:      May 22 at 9:00 o'clock.

13                 THE COURT:      All right.      Thank you.

14                 MS. ROSEN:      Thanks, Judge.

15                 MR. ENGQUIST:       Thank you.

16           (Which were all the proceedings heard in this case.)

17                                        CERTIFICATE

18                 I HEREBY CERTIFY that the foregoing is a true, correct

19      and complete transcript of the proceedings had at the hearing

20      of the aforementioned cause on the day and date hereof.

21

22       /s/Alexandra Roth                                            11/7/2018
        __________________________________                         _________________
23        Official Court Reporter                                       Date
          U.S. District Court
24        Northern District of Illinois
          Eastern Division
25
